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 7                                      UNITED STATES DISTRICT COURT
                                       WESTERN DISTRICT OF WASHINGTON
 8
 9      UNITED STATES OF AMERICA,

10                                                                    Case No. CR07-5656 JKA
                                     Plaintiff,
11                           v.                               ORDER REGARDING PENDING
                                                              MOTIONS
12      FRANKIE GONZALES,
        WAYNE JOHNSON,
13      ANDREW NOEL,
        THERON PARKER, and
14      WILLIAM SECOR

15                                    Defendants.

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                This matter comes before the court on motion of defendant Noel, to continue the currently scheduled
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     motions hearing date of January 29 (Dkt#105). Defendant Noel asks that a new date be scheduled to hear each
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     defendants dispositive motions not requiring an evidentiary hearing. The motion is joined in by defendants:
20 Gonzales (#104); Johnson (#108); Parker:(#106); defendant Secor not responding, and the plaintiff has
21 responding in support of the motion (#107).
22              The court had earlier established a pre-trial motions cut off date of January 18, 2008. Accordingly, the
23 court assumes that all pre-trial motions have been filed. The pending motions, in the order filed, are as
24 follows:
25              1. Motion in Limine or in the alternative to Suppress Evidence (defendant Noel – #52).
26              2. Motion to Dismiss Count Two of Indictment (defendant Noel – #55).
27              3. Motion to Dismiss Count One of Indictment (defendant Noel – #61).
28              4. Motion to File Amicus Brief (plaintiff – #75).



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 1              5. Motion to File Overlength Brief (defendant Noel – #76).
 2              6. Motion to Suppress Statements (defendant Johnson – #81).
 3              7. Motion to Suppress Statements (defendant Secor – #84).
 4              8. Motion to Dismiss Indictment (defendant Johnson – #86).

 5              9. Motion to Dismiss Count Three of Indictment (defendant Noel – #90).

 6              10. Motion to Suppress Statements (defendant Parker – #95).

 7              11. Motion to Dismiss Counts II or III (defendant Parker – #98).

 8
                12..Motion to Dismiss based on Double Jeopardy (defendant Noel – #101).
                13. Motion to Continue Motions Hearing (defendants – #105).
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                For the most part, all defendants have joined in those motions of co-defendants in which the benefit of
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     prevailing would inure to the benefit of the joining party. If the court has mischaracterized or failed to list
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     any pending motion counsel filing the motion should notify the court within 5 days of the date of this
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     order.
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                The court, having reviewed all materials submitted to date, and being fully advised in the
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     premises orders as follows:
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                 WITH THE EXCEPTION OF Motion to File Amicus Brief (#75) and Motion to Continue
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     Motions Hearing Date (#105) – both of which the court hereby GRANTS, the January 29, 2008 hearing
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     date regarding pre-trial motions is continued to February 19th and 20th, 2008. The court is scheduling
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     the hearing for two full days in order that all pending motions (including evidentiary hearings) may be
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     resolved at that time. All parties and counsel are to be present.
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22
                                               January 23, 2008
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24                                             /s/ J. Kelley Arnold
                                               J. Kelley Arnold, U.S. Magistrate Judge
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